Case 6:14-cv-00920-CEM-T_S Document1 Filed 06/13/14 Page 1 of 10 PagelD 1

Quy
IN THE UNITED STATES DISTRICT COURT sOol ial 3.44 om.

FOR THE MIDDLE DISTRICT OF FLORIDA CLERK, WS, Tim.
ORLANDO DIVISION MIDDLEDEST ree ou RT
FLORIDA

CONAIR CORPORATION and
BABYLISS FACO SPRL, CASE No.

lo’. \Y-CV- 920 - ORL- 28- DAR

Plaintiffs,
v.
JOHN DOE d/b/a ARGAN WOMAN, JURY TRIAL DEMANDED
Defendant.

 

 

COMPLAINT FOR PATENT INFRINGEMENT
AND UNFAIR COMPETITION
(INJUNCTIVE RELIEF DEMANDED)

Plaintiffs Conair Corporation (“Conair”) and Babyliss FACO SPRL (“Babyliss”)

complain of defendant John Doe d/b/a Argan Woman as follows:
JURISDICTION AND VENUE

l. Jurisdiction exists under 28 U.S.C. §§ 1331 and 1338(a) because this is an
action for infringement of Conair and Babyliss patent rights and for violation of Section
43(a) of the Lanham Trademark Act, 15 U.S.C. § 1125(a). This Court has supplemental
jurisdiction of Plaintiffs’ claim under Florida law pursuant to 28 U.S.C. § 1367(a).

2. Defendant is subject to personal jurisdiction in Florida and in this judicial
district and division because it has transacted business here by sclling, offering to sell or
distributing hair care products (the ArganWoman ArganCurl) that violate Conair’s and
Babyliss’s intellectual property rights.

3. Venue is proper under the general federal venue statute, 28 U.S.C. §
1391(d), and under the specific venue provision relating to patent-infringement cases, 28
U.S.C. § 1400(b).

PARTIES

4, Conair is a Delaware corporation headquartered in East Windsor, New

Jersey, with sales and marketing offices in Stamford, Connecticut. Conair is the exclusive

licensee and owns all substantial rights in and has standing (without joining the nominal

COS POAT RTE
Sey aN PE IAG io a
a2) CFA yo dea Coat
Case 6:14-cv-00920-CEM-T_S Document1 Filed 06/13/14 Page 2 of 10 PagelD 2

legal title owner) to sue for infringement of the following United States Patent Nos.:
8.607,804, entitled “Hair Styling Aid” (the °804 patent); 8,651,118, entitled “Hair Styling
Device” (the *118 patent); and 8,733,374, entitled “Hair Styling Device” (the °374
patent); Conair holds the exclusive license, including the exclusive right to manufacture,
market and enforce, from TF3 Limited (Birmingham, England). Conair has complied
with all terms of its exclusive license, and that exclusive license is currently in force.

5. Babyliss is a subsidiary of Conair, and is organized under the laws of
Belgium. It is headquartered and has offices at 25 avenue l’independence 4020, Wandre
(Liege), Belgium. Babyliss is the owner and has standing to sue for infringement of
United States Design Patent D696,456, entitled, “Hair Styling Apparatus” (the °456
patent).

6. John_Doe is a person or entity whose identity is not currently known to
Plaintiffs, but who does business as Argan Woman in the state of Florida, maintaining an
office at 20500 West Dixie Highway, Aventura, Florida, 33180. Plaintiffs are currently
investigating the identity of the John Doe who docs business as Argan Woman, and
Plaintiffs intend to amend this complaint when John Doe’s identity is determined. Argan
Woman has previously and is presently making, using, selling, offering for sale, and/or
importing into the U.S. hair styling devices that infringe onc or more claims of the °804,
“118, °374 and °456 patents (the “patents-in-suit”). Argan Woman has infringed the
patents-in-suit cither directly or through acts of contributory infringement or inducement
in violation of 35 U.S.C. § 271.

BACKGROUND

7. Conair acquired the exclusive license to the °804, °118 and ’°374 patents on
June 7, 2011, and has worked diligently to commercialize the inventions claimed within
them. The °804, °118 and ’374 patents, through the inventions embodied in their claims,
permit one-step hair styling and curling, thus saving consumers substantial time and
effort. As part of Conair’s commercialization efforts, Conair designer Pierre L. Julemont

(working at Conair’s Belgian Babyliss subsidiary) perfected a sleek, novel and consumer-
Case 6:14-cv-00920-CEM-T_S Document 1 Filed 06/13/14 Page 3 of 10 PagelD 3

friendly ornamental design to enclose embodiments of the 804, °118 and °374 patents.

That ornamental design is embodied in the °456 patent.

 

 

 

 

Figure | of the '456 Patent

 

 

 

8. As a result of Conair’s commercialization efforts. Conair and_ its
subsidiarics have experienced dramatic commercial success worldwide with its
embodiments of those patents — the Miracurl® (promoted under the Babyliss brand) and
the Curl Secret® (promoted under the Conair brand). That success has attracted a number
of knock-off efforts and attempts to free ride on Conair’s success. Defendants are now
among them.

9. Argan Woman sells hair styling devices, and advertises them on its
website, www.ArganWoman.com. To an ordinary observer, those accused devices appear
substantially and confusingly similar to Conair’s commercial patented products, and to

Conair’s patented design:
Case 6:14-cv-00920-CEM-T_S Document1 Filed 06/13/14 Page 4 of 10 PagelD 4

 

 

 

Defendant’s Accused Product

 

 

 

10. Conair owns distinctive, aesthetic, non-functional trade dress in its Infinity
Pro by Conair® Curl Secret® (“Curl Secret”) hair curling product. Conair has used this
trade dress consistently in its marketing, including on its websites located on the internet
at www.curlsecret.com, wiww.miracurlpro.com and www.conair.com,

1]. The trade dress of the Curl Secret is recognizable by its color which is a
very deep, dark purple. almost black in appearance. The trade dress is also recognizable
by the positioning of the controls for the Curl Secret which are located on the lefi side of
the product’s lower appendage facing left when held in a stylist’s right hand during
normal use. The trade dress is also recognizable in the unique shape of the Curl Secret,
including its round bulbous clam-shell head and its sleck handle, as well as its swiveling
truncated-cone power cord attachment where the cord trails away from the unit at a
greater-than-90 degree angle, and has flexible ribs at the nearest part to the attachment.
The trade dress for Miracurl is nearly identical, with three buttons instead of two, and
aqua/teal coloring instead of deep purple.

12. The Curl Secret and Miracurl trade dress symbolize the quality of the

Conair products, and have become distinctive to Conair through widespread use and
Case 6:14-cv-00920-CEM-T_S Document1 Filed 06/13/14 Page 5 of 10 PagelD 5

advertising, which has exposed the Conair Curl Secret and Miracurl to many people,
especially in the hair care industry. Conair has used the Curl Secret and Miracurl trade
dress in a consistent and continuous fashion in commerce though its website, in print
marketing material, and on the websites and marketing matcrial of its authorized dealers
throughout the United States.

13. The Curl Sceret and Miracurl trade dress is aesthetic and non-functional,
and through consistent and continuous use it has come to identify the Conair Curl Secret
and Miracur! products, and the public recognizes the trade dress and associates it with
Conair and its Curl Secret and Miracurl products. The trade dress has become an asset of
substantial value and is strongly associated with a single product line and source, namely
the Conair Curl Secret and Miracurl products.

14. Asan be scen in the photographs below, Defendant has copied and used
the Curl Secret and Miracurl trade dress in connection with their advertising and
marketing of the confusingly similar accused devices in interstate commerce with the
intention of misleading, decciving or confusing consumers as to the origin of the accused

products while trading on Conair’s reputation and good will.
Case 6:14-cv-00920-CEM-T_S Document1 Filed 06/13/14 Page 6 of 10 PagelD 6

 

 

Two views of Conair's Product

 

 

 

 
Case 6:14-cv-00920-CEM-T_S Document1 Filed 06/13/14 Page 7 of 10 PagelD 7

15. — The infringement by Defendant of the Curl Secret and Miracurl trade dress
is likely to cause confusion, deception, and mistake among consumers and potential
consumers of the Conair Curl Secret product.

16. Conair has informed Defendants of its and its subsidiary’s rights under the
patents-in-suit, and requested that they immediately cease and desist the infringing

activities. On June 2. 2014, in-house counsel for Conair wrote a letter to Argan Woman

 

‘Two views of Defendant's Infringing Product

 

 

 

naming, among others, the patents-in-suit, identifying the infringement by the accused
products, and demanding that he “immediately cease and desist all sales, marketing,
advertising and website listings of the product, and any substantially similar product, and

that you destroy or turn over to us your unsold inventory.”

COUNT I

UTILITY PATENT INFRINGEMENT

17. Plaintiffs repeat and reallege the allegations contained in paragraphs |
through 16 of this complaint as if fully set forth herein.

18. Defendant has infringed and continues to infringe the °804, 7118 and °374
patents cither directly or indirectly through acts of contributory infringement or
inducement in violation of 35 U.S.C. § 271, by making, using, selling, importing and/or
offering to sell infringing products, namely the ArganWoman ArganCurl. Additional
infringing models may be identified through discovery.

19, Defendant’s infringement, contributory infringement and/or inducement to
infringe has injured Conair and it, therefore, is entitled to recover damages adequate to
compensate it for such infringement, but in no event less than a reasonable royalty.

20. Defendant's infringement, contributory infringement and/or inducement to

infringe has been willful and deliberate because Defendant had notice of or knew of the
Case 6:14-cv-00920-CEM-T_S Document 1 Filed 06/13/14 Page 8 of 10 PagelD 8

*804, 118 and °374 patents and has nonetheless injured and will continue to injure
Conair, unless and until this Court enters an injunction, which prohibits further
infringement and specifically enjoins further manufacture, use, sale, importation and/or
offer for sale of products or services that come within the scope of the °804, 118 and

*374 patents.
COUNT II

DESIGN PATENT INFRINGEMENT

21. Plaintiffs repeat and reallege the allegations contained in paragraphs |
through 20 of this complaint as if fully set forth herein.

22. Defendant has infringed and continuc to infringe the “456 patent cither
directly or indirectly through acts of contributory infringement or inducement in violation
of 35 U.S.C. § 271 by making, using, selling, importing and/or offering to sell infringing
products, namely the ArganWoman ArganCurl. Additional infringing models may be
identified through discovery.

23. Defendant’s infringement, contributory infringement and/or inducement to
infringe has injured Babyliss and it, therefore, is entitled to recover damages adequate to
compensate it for such infringement, but in no event less than a reasonable royalty.

24. Defendant’s infringement, contributory infringement and/or inducement to
infringe has injured and will continue to injure Babyliss, unless and until this Court enters
an injunction, which prohibits further infringement and specifically enjoins further
manufacture, use, sale, importation and/or offer for sale of products or services that come

within the scope of the °456 patent.

COUNT IIT

FEDERAL TRADE DRESS INFRINGEMENT/UNFAIR COMPETITION
25. Plaintiffs repeat and reallege the allegations contained in paragraphs |

through 24 of this complaint as if fully set forth herein.
Case 6:14-cv-00920-CEM-T_S Document1 Filed 06/13/14 Page 9 of 10 PagelD 9

26. Defendant's activities complained of herein constitute infringement of
Conair’s trade dress and unfair competition in violation of 15 U.S.C. § L125(a) to the
injury and detriment of Plaintiffs.

27. As a direct and proximate result of Defendants’ infringement, Conair has
suffered and will continue to suffer loss of income, profits and good will and defendants

will continue to unfairly acquire income, profits, and good will.
COUNT IV

COMMON LAW UNFAIR COMPETITION
28. ‘Plaintiffs repeat and reallege the allegations contained in paragraphs |
through 27 of this complaint as if fully set forth herein.
29. Defendant’s activitics complained of herein constitute unfair methods of
competition in violation of the common law of the State of Florida.
30. Asa direct and proximate result of Defendant’s competition, Conair has
suffered and will continue to suffer loss of income, profits and good will, and defendant

will continuc to unfairly acquire income, profits and good will.

JURY DEMAND
Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Conair requests a

trial by jury on all issucs presented that can properly be tried to a jury.

PRAYER FOR RELIEF
WHEREFORE, Conair and Babyliss ask this Court to enter judgment against
Defendant and against its subsidiarics, affiliates, agents, servants, employees and all
persons in active concert or participation with them, granting the following relief:
A. An injunction permanently prohibiting further infringement, inducement

and contributory infringement of the patents-in-suit;

9
Case 6:14-cv-00920-CEM-T_S Document1 Filed 06/13/14 Page 10 of 10 PagelD 10

B. An award of damages adequate to compensate Conair and Babyliss for the

infringement that has occurred, together with prejudgment interest from

the date infringement began;

Cc. All other damages permitted by 35 U.S.C. § 284;

Additional damages as expressly provided for in the case of a design

patent under 35 U.S.C. § 289;

E. A finding that this case is exceptional and an award to Conair of its

attorneys’ fecs and costs as provided by 35 U.S.C. § 285;

F. An award of costs; and
G. Such other and further relicf as this Court or a jury may deem proper and
just.

Dated: June 13, 2014

Respectfully submitted,

By: /s/ Jocl B. Rothman

Jocl B. Rothman
Jocl.rothman@sriplaw.com

Florida Bar No. 98220

Schneider Rothman IP Law Group
4651 North Federal Highway

Boca Raton, Florida 33431]

voice: 561.404.4350

fax: 561.404.4353

Of counsel:

William W. Flachsbart
wwi@f[g-law.com

Robert P. Greenspoon
rpg@afg-law.com

Flachsbart & Greenspoon, LLC
333 N. Michigan Ave., 27" Floor
Chicago, IL 6060)

Phone: 312-551-9500

Fax: 312-551-9501

Attorneys for Plaintiffs,
Conair Corporation and Babyliss FACO
SPRL

10
